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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



                GOVERNMENT’S LIST OF PROPOSED EXHIBITS


        The government hereby submits its final list of proposed exhibits. The

 government respectfully reserves its right, within reasonable notice depending on the

 circumstances, to add additional exhibits as trial demands dictate.

               Respectfully submitted this 2nd day of February, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
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                             CERTIFICATE OF SERVICE


        I hereby certify that on this 2nd day of February, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record.




                                                 By:   /s Sarah H. Weiss
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